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                          UNITED STATES DISTRICT COURT

                             DISTRICT OF COLUMBIA


AMERICAN FOREIGN SERVICE
ASSOCIATION, et al.,                     Case No. 1:25-cv-00352 (CJN)

            Plaintiffs,

     vv..


PRESIDENT DONALD J. TRUMP, et al.,

            Defendants.




BRIEF OF AMICI CURIAE FORMER SENIOR NATIONAL SECURITY OFFICIALS
    IN SUPPORT OF PLAINTIFFS’
                  PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT
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                                                      CURIAE11
                    IDENTITIES AND INTERESTS OF AMICI CURIAE

       Amici are a bipartisan coalition of former senior national security officials with decades of

experience serving in roles across the executive branch (including the military) and the legislative

branch. From their work, Amici have a deep understanding of the myriad national security threats

that the United States faces, and all have dedicated their careers to protecting Americans from

those threats. Amici are therefore well equipped, and indeed compelled, to detail for the Court

USAID’s critical role in securing the United States’s
USAID's                                      States's national security goals. They understand that

foreign aid, administered through USAID, is a central component of this country’s
                                                                        country's foreign relations

and national security strategies, and that it has effectively confronted the disease, war, famine, and

civil unrest that so often precedes and underlies threats to our safety. Amici are identified below,

                   positions22 that they held and the dates on which they held them:
along with notable positions

•     Charles Hagel, Secretary of Defense (2013-2015), United States Senator for Nebraska
       (1997-2009)
•     William Perry, Secretary of Defense (1994-1997), Deputy Secretary of Defense (1993-
       1994)
•     Michael Hayden, Director of the Central Intelligence Agency (2006-2009), Director of
       the National Security Agency (1999-2005), General, United States Air Force
•     Howard Berman, U.S. Representative for California’s
                                                 California's 26th and 28th Districts (1983-
       2013), Chair of the House Foreign Affairs Committee (2008-2011)
•     Eric Edelman, Principal Deputy National Security Advisor to the Vice President (2001-
       2003), Under Secretary of Defense for Policy (2005-2009)
•     Brian McKeon, Deputy Secretary of State for Management and Resources (2021-2022),
       Acting Under Secretary of Defense for Policy (2016)

1
 Pursuant to Local Rule 7(o)(5) and Federal Rule of Appellate Procedure 29(a)(4)(e), Amici
certify that no party’s
                party's counsel authored this brief in whole or in part, and no person or entity
other than Amici or its counsel contributed money that was intended to fund preparing or
submitting of this brief. Websites cited in this brief were last visited March 13, 2025.
2
2 All positions listed are former. Amici have had significant and lengthy careers; for the sake of
brevity, this brief lists only a subset of the positions they have held.

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•     Wendy Sherman, Deputy Secretary of State (2021-2023), Under Secretary of State for
       Political Affairs (2011-2015).
•     Alexander Vershbow, Deputy Secretary General of NATO (2012-2016), Ambassador to
       Russia (2001-2005)
•     Gayle Smith, USAID Administrator (2015-2017), Special Assistant to the President
       (2009-2015; 1998-2001)
•     Richard Boucher, Assistant Secretary of State for South and Central Asia (2006-2009),
       Assistant Secretary of State for Public Affairs (2000-2005)
•     A. Peter Burleigh, Ambassador and Deputy Representative to the United Nations (1997-
       1999), Ambassador and Coordinator of Counter-Terrorism (1991-1992)
•     Ruth Davis, Director General of the Foreign Service (2001-2003), Ambassador to Benin
       (1992-1995)
•     Robert Goldberg, Director of U.S. Foreign Assistance, Department of State (2010-
       2014), Deputy Associate Director for International Affairs, Office of Management and
       Budget (2004-2010)
•     Gordon Gray, Ambassador to Tunisia (2009-2012), Deputy Assistant Secretary of State
       for Near Eastern Affairs (2005-2008)
•     Richard Greene, Director of U.S. Foreign Assistance, Department of State (2007-2009),
       Chief Financial Officer, Department of State (1993-1998)
•     Robert Hutchings, Chairman of the National Intelligence Council (2003-2005), Special
       Advisor to the Secretary of State (1992-93)
•     Chris Kojm, Chairman of the National Intelligence Council (2009-2014), Deputy
       Executive Director, 9/11 Commission (2003-2004)
•     Nancy McEldowney, National Security Advisor to the Vice President (2021-2022),
       Director of the Foreign Service Institute (2013-2017)
•     Daniel Shapiro, Ambassador to Israel (2011-2017), Deputy Assistant Secretary of
       Defense for Middle East Policy (2024-2025)
•     Todd Stern, Special Envoy for Climate Change, Department of State (2009-2016),
       Assistant to the President and Staff Secretary (1995-1999)
•     Harry Thomas Jr., Ambassador to Zimbabwe (2016-18), Ambassador to the Philippines
       (2010-2013)
•     Pamela White, Ambassador to Haiti (2012-2015), USAID Mission Director in Mali and
       Tanzania and Liberia (2005-2010)

       Amici have served across multiple branches and agencies of government, from Capitol Hill

to the White House, to consulates, embassies, and battlefields abroad. Amici know firsthand that

USAID’s work is critical to achieving the goal of ensuring America’s
USAID's                                                    America's national security. Amici’s
                                                                                        Amici's

                                               2
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                             USAID’s work continues, so that their efforts are continued, and that
interest, therefore, is that USAID's

future generations of Americans remain safe from foreign threats.

                                       INTRODUCTION

       In a Special Message delivered to Congress just six months before the passage of the

Foreign Assistance Act of 1961 (the "FAA"
                                    “FAA” or "the
                                             “the 1961 Act”),
                                                       Act"), President John F. Kennedy set out

the important role that foreign assistance plays in strengthening and securing the United States of

America: "The
         “The economic collapse of those free but less-developed nations which now stand poised

between sustained growth and economic chaos would be disastrous to our national security,

                                                           conscience."'3 The legislative and
harmful to our comparative prosperity and offensive to our conscience.”

executive branches worked collaboratively to pass the FAA and create the United States Agency

for International Development ("USAID")
                              (“USAID”) not as an act of pure altruism, but in order to promote

America’s “soft power”
America's "soft power" and security through the administration of foreign aid.

       The purpose of this aid is, in large part, to protect Americans. Congress enacted the FAA,

authorized the creation of USAID, and regularly passes foreign operations appropriations because

they better position the United States vis-à-vis
                                       vis-a-vis its adversaries and help build coalitions and

alliances when they are needed. Foreign aid provides economic and social development to regions

where terrorism would otherwise fester. It provides funding for major global health challenges,

keeping diseases from becoming epidemics and pandemics which know no borders. It helps to

prevent the root causes of migration around the globe, including across our southwestern border.

Our country’s
    country's greatest adversaries have long decried U.S. foreign assistance. They now celebrate




33 The American Presidency Project, UC Santa Barbara,
 https://www.presidency.ucsb.edu/documents/special-message-the-congress-foreign-aid-1
 https: //www. presi dency.ucsb . edu/documents/special-message-the-congress-foreign-aid-1 (last
visited Mar. 13, 2025).

                                                 3
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its apparent demise, because they know it works: USAID builds American strength abroad, and

maintains American security at home.

       Defendants’ rapid and unlawful dismantling of USAID has already wreaked irreparable
       Defendants'

violence to this essential work, weakening the United States and exposing it to grave national

security vulnerabilities. Halting, whether temporarily or permanently, desperately needed aid that

this country committed to provide destabilizes organizations, countries, and regions, undermining

partnerships and alliances that strengthen the United States and help make Americans safer and

more secure. Cancelling contracts en masse destroys American credibility. Firing personnel en

masse eliminates the ability to effectively and securely deliver whatever assistance President

Trump and Secretary Rubio have indicated will continue. Finally, Defendants'
                                                                 Defendants’ sweeping actions

have created vacuums of need all around the world, ceding influence and permitting China and

Russia to seize those opportunities left behind.

       Amici are former senior national security officials who have worked across government in

national security and foreign affairs roles, including two former Secretaries of Defense and a four-

star general who previously served as Director of the Central Intelligence Agency and National

Security Agency. Amici submit this brief to detail for the Court the dire national security

implications of Defendants' conduct,44 and respectfully urge it to consider those implications and
                Defendants’ conduct,

      Plaintiffs’ Motion for Summary Judgment.
grant Plaintiffs'




4
4 Amici agree with the concerns expressed by numerous former public officials, including some
Amici here, in a letter to leaders in the United States Senate and United States House of
Representatives dated February 12, 2025, available at politico.com/f/?id=00000195-00fe-d573-
a3bf-51fe0dac0000.

                                                   4
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                                             ARGUMENT

         A.      The Legislative And Executive Branches Collaborated To Create USAID In
                 Recognition Of Foreign Aid's
                                        Aid’s Crucial National Security Role

          Congress and President Kennedy recognized the important role that foreign aid plays in

bolstering the United States’s
                      States's national and economic security when they passed the 1961 Act to

reorganize this country’s
                country's foreign assistance programs and create USAID as the agency responsible

                  ends.'5 The 1961 Act addressed the shortcomings of its predecessor statute, passed
for achieving its ends.

20 years earlier to address the catastrophic effects of World War II. President Kennedy urged in

his March 22, 1961 Special Message to the Congress that foreign aid was "necessary"
                                                                        “necessary” based on

not just "moral
         “moral obligations”
                obligations" but also this country’s “political obligations as the single largest
                                           country's "political

counter to the adversaries of freedom"
                              freedom” around the world:

         To fail to meet those obligations now would be disastrous; and, in the long run,
         more expensive. For widespread poverty and chaos lead to a collapse of existing
         political and social structures which would inevitably invite the advance of
         totalitarianism into every weak and unstable area. Thus our own security would be
         endangered and our prosperity imperiled. A program of assistance to the
         underdeveloped nations must continue because the nation’s
                                                             nation's interest and the cause
                                      it.6
         of political freedom require it.6

          Congress placed the United States’s
                                     States's own security interests front and center in its legislation.

It described the FAA as "AN
                        “AN ACT To promote the foreign policy, security, and general welfare of

the United States by assisting peoples of the world in their efforts toward economic development

and internal and external security, and for other purposes.”
                                                  purposes." Pub. Law 87-195, 75 Stat. 424-65

(1961) (codified at 22 U.S.C. § 2151 et seq.). The FAA's
                                                   FAA’s General Policy provision further

demonstrates that Congress intended foreign assistance to make the United States stronger and


5
5 Exec. Order No. 10973, Administration of
                                         of Foreign Assistance and Related Functions (Nov. 3,
1961), available at https://www.thecre.com/fedlaw/legal20/eo10973.htm.
                    https://www.thecre.com/fedlaw/lega120/eo10973.htm.
6
    Supra, note 3.
6 Supra, note 3.


                                                    5
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safer, explaining that "fundamental
                       “fundamental political, economic, and technological changes have resulted

in the interdependence of nations[,]”
                          nations[,]" and as such, "the
                                                   “the individual liberties, economic prosperity,

and security of the people of the United States are best sustained and enhanced in a community of

nations which respect individual civil and economic rights and freedoms and which work together

                  world’s limited resources in an open and equitable international economic
to use wisely the world's

system.”
system." 22 U.S.C. § 2151(a).

       On November 3, 1961, President Kennedy created USAID by Executive Order 10973 to

administer and accomplish the Act’s
                              Act's goals, pursuant to the authority vested by Congress in Section

301 of the 1961 Act. Kennedy's
                     Kennedy’s order made USAID a subsidiary entity of the State Department,

though, in the decades that followed, subsequent presidential administrations worked in tandem

with the legislative branch to determine the best way to deploy USAID as a means for advancing

this country’s                       interests.7
     country's economic and security interests.'

       In 1998, for example, Congress passed the Foreign Affairs Reform and Restructuring Act

(22 U.S.C. § 6563 et seq.), which established USAID as an independent agency outside the State

Department, while keeping it under the direct authority of the Secretary of State to help ensure that

USAID programs align with U.S. foreign policy and national security interests. Pub. L. No. 105-

277, § 1413, 112 Stat. 2681-791; see 5 U.S.C. § 104. Congress carefully circumscribed the

President’s authority to alter the agency’s
President's                        agency's structure or operations, giving the President only 60 days

after USAID's
      USAID’s establishment as an independent agency to eliminate it or reassign its functions. 22

U.S.C. § 6601(a). President Clinton declined to do so, instead ordering that "USAID
                                                                             “USAID will remain

a distinct agency with a separate appropriation.”
                                  appropriation." Reorganization Plan and Report Submitted by



7
7 Mara Rudman, Against the Executive Sledgehammer, The Dispatch (Feb. 21, 2025),
https://thedispatch.com/article/usaid-doge-rreforms-trump-musk-soft-power/?signup=success.

                                                   6
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President Clinton to Congress on December 30, 1998, Pursuant to Section 1601 of the Foreign

                                        1998.88
Affairs Reform and Restructuring Act of 1998.

       Since then, Congress has repeatedly appropriated funds for foreign assistance through

USAID, most recently in its March 23, 2024 Appropriations Bill, which mandates the provision of

funds and generally prohibits all but small deviations without congressional consultation and

justification. See Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, div. F, tits.

II-III, 138 Stat. 460, 739-43; 722 (2024). Indeed, foreign assistance and USAID programs have

been a bipartisan venture for the last 20 years, especially in the area of global health. Both parties

have long supported the President's
                        President’s Emergency Plan For Aids Relief (PEPFAR), originally

launched by President George W. Bush in 2003 to address the global HIV/AIDS crisis, and

successive Democratic administrations have increased funding for the initiative originally

                             predecessor.99 Legislation like the Global Food Security Act
launched by their Republican predecessor.                                                 10
                                                                                      Act10  and

                     Act11 have also enjoyed strong bipartisan support. The legislative and
the Electrify Africa Act"

executive branches'
          branches’ collaborative work on USAID and aid programs contrasts with the current

administration’s
administration's wholesale and unilateral obliteration of the agency.




8
  Reorganization Plan and
8 Reorganization       and Report, U.S. Department of State (1998), https://1997-
2001.state.gov/global/general_foreign_policy/rpt_981230_reorg8.html.
2001.state.gov/global/general foreignpolicy/rpt_981230_reorg8.html.
9
 See The U.S. President’s Emergency Plan for AIDS Relief (PEPFAR), Global Health Policy
9 See The U.S. President's Emergency Plan for AIDS Relief (PEPFAR), Global Health Policy
(Aug. 15, 2024), https://www.kff.org/global-health-policy/fact-sheet/the-u-s-presidents-
                 https://www.kfforg/global-health-policy/fact-sheet/the-u-s-presidents-
emergency-plan-for-aids-relief-pepfar/.
10
1° See Statement by the President on the Passage of
                                                 of The Global Food Security Act of
                                                                                 of 2016, The
White House President Barack Obama (July 6, 2016), https://obamawhitehouse.archives.gov/the-
press-office/2016/07/06/statement-president-passage-global-food-security-act-2016.
press-office/2016/07/06/statement-presi dent-passage-global-food-security-act-2016.
11
                                       of 2015, House Foreign Affairs Committee GOP,
" See H.R. 2847, Electrify Africa Act of
https://foreignaffairs.house.gov/legislation/h-r-2847-electrify-africa-act-of-
2015/#:~:text=To%20encourage%20African%20countries%20provide,not%20have%20access%
2015/#:—:text=To%20encourage%20African%20countries%20provide,not%20have%20access%
20to%20electricity (last visited Mar. 13, 2025).

                                                  7
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          B.     USAID’s
                 USAID's Work Has Achieved Congress’s
                                            Congress's Goal Of Enhancing This Country's
                                                                              Country’s
                 Security Through Foreign Assistance—A Goal Threatened By Defendants’
                                                                            Defendants'
                 Actions
                                                                                                 12
          Since its creation in 1961, USAID has been the primary aid agency of the United States.
                                                                                          States.12

Congress has repeatedly appropriated foreign aid through USAID in recognition of its crucial role

in supporting development as the third "pillar"
                                       “pillar” undergirding the United States’s
                                                                        States's foreign policy and
                           13
national security strategy.
                  strategy.13 This aid supports economic development, humanitarian assistance,

health efforts, peace and security, democracy, human rights, governance, education and social
                                         14
services, and environmental work abroad,
                                 abroad,14  and is indisputably valuable because it gains the

United States "vast                                                                     works,”15
              “vast stores of political capital in the more than 100 countries where it works,"15

“builds goodwill with critical partners in foreign governments, the private sector and civil society;
"builds

it improves global health, stopping the next pandemic before it starts; it helps mitigate security
                                                               16
concerns abroad before they become security concerns at home.”
                                                        home."16  As former Republican

Representative Charlie Dent explained, USAID "strengthens
                                             “strengthens U.S. national security by promoting

stability. Weak and failing states are breeding grounds for terrorism, drug trafficking and mass



12
12 Drew DeSilver, What the data says about U.S. foreign
                                                 foreign aid, Pew Research Center (Feb. 6,
2025), https://www.pewresearch.org/short-reads/2025/02/06/what-the-data-says-about-us-
foreign-aid/.
13
13 See Charlie Dent, Shuttering USAID is a win for
                                                for China and a lossforfor America, The Hill (Feb.
10, 2025), https://thehill.com/opinion/5134684-us-agency-foreign-aid-threatened/. The other two
pillars are "diplomacy"
            “diplomacy” and "defense"—of
                              “defense”—of the three, foreign aid is by far the least expensive,
making up between 0.7% and 1.4% of the federal government's
                                                  government’s total spending since 2001. See
supra, note 12.
14
     Supra, note 12.
     Supra,

15
15 Samantha Power, Killing U.S.A.I.D. Is a Win  for Autocrats Everywhere, The New York Times
                                           Win for
(Feb. 8, 2025), https://www.nytimes.com/2025/02/06/opinion/usaid-trump-samantha-power.html.
16
   Id.; see also Michael Sheldrick, The Truth About U.S. Foreign Aid: A Response To Secretary
   id
Marco Rubio, Forbes (Feb. 5, 2025), https://www.forbes.com/sites/globalcitizen/2025/02/05/the-
Marco
truth-about-us-foreign-aid-a-response-to-secretary-marco-rubio/. Error! Hyperlink reference
not valid.

                                                  8
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migration. By addressing root causes of instability, USAID helps prevent crises before they require

                     intervention.”17
costly U.S. military intervention."17

       Presidents and lawmakers have long recognized the important role that foreign aid plays,

                         terrorism.18 Following the terrorist attacks on September 11, 2001,
especially in combatting terrorism."

President Bush drew a clear connection between foreign assistance and national security, stating,

“[w]e will actively work to bring the hope of democracy, development, free markets and free trade
"[w]e

to every corner of the world. . . . poverty, weak institutions, and corruption can make weak states

                                                               borders.”19 The Obama
vulnerable to terrorist networks and drug cartels within their borders."19

Administration continued this commitment to use foreign aid to bolster national security. Secretary

of Defense Robert Gates wrote, "over
                               “over the long term, the United States cannot kill or capture its

way to victory. Where possible, what the military calls kinetic operations should be subordinated

to measures aimed at promoting better governance, economic programs that spur development,

                                                                                       recruit.”20
and efforts to address the grievances among the discontented, from whom the terrorists recruit."20

       Former Representative Steve Israel recently wrote about his 2007 visit to the Kashmir

region of Pakistan, where an earthquake had devastated communities and "terror
                                                                       “terror groups intent on


17
17 Supra, note 13. Secretary Rubio himself has stated, "Foreign
                                                         “Foreign Aid is not charity. We must make
sure it is well spent, but it is less than 1% of budget & critical to our national security.”
                                                                                   security."
@marcorubio, X, (Feb. 28, 2017, 6:27 AM),
https://x.com/marcorubio/status/836583503768748033?lang=en.
18
18 Indeed, USAID obligations grew by 70% in the two years following the 9/11 terrorist attack in
recognition "that
            “that addressing poverty, improving health, and supporting economic growth
overseas made America safer at home.”
                                 home." Anthony F. Pipa, Abrupt changes at USAID are
undermining USUS credibility and
                             and national security, The Brookings Institution (Feb. 4, 2024),
https://www.brookings.edu/articles/what-comes-after-a-usaid-shutdown/.
19
19 Introductory Statement by President George W. Bush, The National Security Strategy of
                                                                                      of the
United States of
              of America, The White House, President George W. Bush (Sept. 17, 2002),
https://georgewbush-whitehouse.archives.gov/nsc/nss/2002/nssintro.html.
20
20 Robert M. Gates, A Balanced Strategy: Reprogramming the Pentagon for
                                                                     for a New Age, 88
Foreign Aff.,
        Aff, 28-40 (Jan./Feb. 2009).

                                                9
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America’s
America's demise [were] organizing, mobilizing and recruiting”
                                                   recruiting" with the message that America

                                          wrong.”21 But in the village Israel visited, USAID had
    “the villain behind all that has gone wrong."21
was "the

supported the building of a school for the young girls, complete with a plaque at its entrance
                                                        22
declaring the building as a gift from the United States.
                                                 States.22 Though not necessarily immediate, the

effect is undeniable: "when
                      “when bad actors sought to indoctrinate citizens with anti-American hate,

they would find it a tougher sell with an audience that knew the country that had built their school

       villain.”23
was no villain."'

            Likewise, amicus Ambassador (Ret.) Gordon Gray (the former ambassador to Tunisia) tells

of three ways that USAID made invaluable contributions to Tunisia’s
                                                          Tunisia's transition from the

authoritarian rule of its former president Zine El Abidine Ben Ali to a more open and political
                                        24
economic system during the Arab Spring.
                                Spring.24  USAID deployed a Disaster Assistance Response Team

to the Tunisia-Libya border and coordinated humanitarian response efforts when Libyans fled their

                           war.25 It provided experts on electoral training to counsel the country
country in fear of a civil war.25

during its first free and fair election in decades—an election later hailed as "a
                                                                               “a transparent and

                                            independence.”26 And it deployed an expert, and later
democratic process for the first time since independence."26

launched a program, to assist in growing the country’s
                                             country's crippled economy, creating thousands of



21
   Steve Israel, USAID makes America safer, The Hill (Feb. 7, 2025),
21 Steve Israel, USAID makes America safer, The Hill (Feb. 7, 2025),
https://thehill.com/opinion/international/5130896-usaid-makes-america-safer/.
https://thehill.com/opinion/internationa1/5130896-usaid-makes-america-safer/.
22 id.
   Id.
23 id.
     Id.
24
   Gordon Gray, Analysis - USAID Expertise is a Critical Foreign Policy Tool, Institute for the
24 Gordon Gray, Analysis - USAID Expertise is a Critical Foreign Policy Tool, Institute for the
Study of Diplomacy, published in The Diplomatic Pouch, Medium (Feb. 7, 2025),
https://medium.com/the-diplomatic-pouch/analysis-usaid-expertise-is-a-critical-foreign-policy-
tool-bab558a27fb8.
25
   Id.
25 Id.

26 Id.
   Id.

                                                  10
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                                   27
private sector jjobs
                 obs for Tunisians.
                         Tunisians.27 This work "highlighted
                                                “highlighted U.S. soft power, led to more commercial

opportunities for U.S. businesses, and helped counter the despair that terrorist ideologies feed

upon.”28
upon."'

            These experiences show the crucial preemptive impact that foreign aid can have on threats

like terrorism. But when the United States suddenly absents itself from places like Pakistan and

Tunisia, "extremist
         “extremist ideologies may fill the gap, creating the conditions for future terrorist groups
              29
to take root.”
        root."29 Defendants’ revocation of this aid means the United States is no longer working
                 Defendants'

“with communities in countries like Syria, Morocco and Kazakhstan to reduce vulnerability to
"with
                 30
radicalization.”
radicalization."3°  Gutting USAID through the cancellation of contracts and the termination of the

employees who facilitate the aid threatens the progress that our country has made securing stability

abroad, especially in the Middle East, where threats of terrorism continue to simmer.

            Those threats loom large now, especially in Gaza. Following the Hamas terrorist attacks of

October 7, 2023 and the subsequent Israel-Hamas war, USAID has coordinated with Israel to

supply tens of millions of dollars in humanitarian relief to Palestinian civilians to increase safety




27
27 IdId.
28
28 IdId.
29
29 Michael Sheldrick, The Truth About U.S. Foreign Aid: A Response To Secretary Marco
                                                                                    Marco Rubio,
Forbes (Feb. 5, 2025), https://www.forbes.com/sites/globalcitizen/2025/02/05/the-truth-about-us-
foreign-aid-a-response-to-secretary-marco-rubio/; see also Vanda Felbab-Brown, Abolishing
USAID hurts multiple US    priorities, The Brookings Institution (Feb. 4, 2024),
                       USpriorities,
https://www.brookings.edu/articles/what-comes-after-a-usaid-shutdown/ ("Programs
                                                                           (“Programs that lift
people out of poverty, foster economic development, encourage access to justice, and promote
better governance address the root causes on which terrorism thrives.").
                                                               thrives.”).
30
     Supra, note 15.
30 Supra, note 15.


                                                   11
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                                           alike.31 Revoking that aid now
and security for Palestinians and Israelis alike.31                       32
                                                                      now32  hobbles this country’s
                                                                                          country's

ability to affect stability in the region moving forward, as Israeli hostages are released and Hamas

is removed from power. The United States no longer has the personnel, know-how, and networks

necessary to keep pathways available to a future, peaceful Palestinian state—something President
                            33
Trump once saw as necessary
                  necessary33      Israel’s future security and stability, as well as for the United
                               for Israel's

States’s                                                                                states.34
States's interests in supporting the expansion of normalization between Israel and Arab states.'

          The foreign assistance freeze also jeopardizes the United States’s
                                                                    States's interest in Syrian stability
                                                  35
and peace following the fall of the Assad regime.
                                          regime.'   USAID has long supported programs providing

food, medical supplies, and shelter to the Syrian people, and worked to strengthen Syria’s
                                                                                   Syria's
                                             36
economy, governance, and essential services.
                                   services.36  It has also funded critical recovery efforts,

including a Syrian civil rescue organization, the White Helmets, which has done lifesaving work

                                                    weapons.37 Those operations are now in limbo
to clear landmines and secure for disposal chemical weapons.37



31
     Supra, note 7.
31 Supra, note 7.

32
  Gaza aid ops in peril as millions of promised USAID dollars frozen under Trump’s cuts, The
32 Gaza aid ops in peril as millions ofpromised USAID dollarsfrozen under Trump's cuts, The
Times Of Israel (Mar. 7, 2025), https://www.timesofisrael.com/gaza-aid-ops-in-peril-as-millions-
of-promised-usaid-dollars-frozen-under-trumps-cuts/.
33
   Peace To Prosperity A Vision to Improve the Lives of the Palestinian and Israeli People, The
33 Peace To Prosperity A Vision to Improve the Lives of the Palestinian and Israeli People, The
White House President Donald Trump (Jan. 2020), available at
https://trumpwhitehouse.archives.gov/peacetoprosperity/.
34
34 Supra, note 7.
35
35
   Diana Rayes, The foreign
                     foreign aidfreeze
                                 freeze poses
                                        poses risks to US
                                                       US interest in Syria, Atlantic Council (Jan.
31, 2025), https://www.atlanticcouncil.org/blogs/menasource/the-foreign-aid-freeze-poses-risks-
to-us-interests-in-syria/.
36
   USAID: On Developments In Syria, U.S. Embassy in Syria (Dec. 8, 2024),
36 USAID: On Developments In Syria, U.S. Embassy in Syria (Dec. 8, 2024),
https://sy.usembassy.gov/usaid-on-developments-in-
syria/#:~:text=The%20United%20States%20has%20long,services%20in%20non%2DAssad%20
syria/#:—:text=The%20United%20States%20has%20long,services%20in%20non%2DAssad%20
regime.
37
   Id.; see also Michael Sheldrick, The Truth About U.S. Foreign Aid: A Response To Secretary
37 M.; see also Michael Sheldrick, The Truth About U.S. Foreign Aid: A Response To Secretary
Marco Rubio, Forbes (Feb. 5, 2025), https://www.forbes.com/sites/globalcitizen/2025/02/05/the-
Marco
truth-about-us-foreign-aid-a-response-to-secretary-marco-rubio/.

                                                    12
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due to Defendants'
       Defendants’ actions, and "there
                                “there are growing fears that these weapons could fall into the
                                                                            38
wrong hands, endangering not just Syrians but regional and global security.”
                                                                  security."38 It is unclear how

the nascent Syrian government will align itself, and what position it will take toward the United

States’s
States's interests in the region and Israel. In the past, a weakened Syria became a breeding ground

for the Islamic State, whose adherents then launched terror attacks around the world.

          Withdrawal of U.S. aid from Latin American countries has significant implications at our

southern border. Much of this aid targets the underlying conditions that lead to migration: programs
                                                                         39
providing access to clean water, sanitation, health care, and education,
                                                              education,39  as well as work with at-
                                                                   40
risk youth to prevent gang violence in Latin American communities.
                                                      communities.4°  The Biden Administration's
                                                                                Administration’s

budget request for 2025 sought funding to support the integration of displaced migrants and

refugees across Latin America so that they can build lives where they are, ultimately preventing

                                            border.41 Defendants'
secondary migration across the southwestern border.41 Defendants’ termination of these programs

and funding only hinders progress on one of this administration’s
                                                 administration's top priorities.

                   Defendants’ actions cut off this country’s
          Finally, Defendants'                      country's best prevention against global public

health epidemics, which can reach this country and claim American lives. Defendants have reduced




38
  Michael Sheldrick, The Truth About U.S. Foreign Aid: A Response To Secretary Marco Rubio,
38 Michael Sheldrick, The Truth About U.S. Foreign Aid: A Response To Secretary Marco Rubio,
Forbes (Feb. 5, 2025), https://www.forbes.com/sites/globalcitizen/2025/02/05/the-truth-about-us-
foreign-aid-a-response-to-secretary-marco-rubio/.
39
  U.S. Humanitarian Assistance for the Western Hemisphere, U.S. Embassy in Chile (May 7,
39 U.S. Humanitarian Assistance for the Western Hemisphere, U.S. Embassy in Chile (May 7,
2024), https://cl.usembassy.gov/u-s-humanitarian-assistance-for-the-western-hemisphere/.
40
     Supra, note 15.
     Supra,

41
  Iolanda Fonesca, U.S. Pledges $685 Million to Support Migrants in Latin America, The Rio
41 Iolanda Fonesca, U.S. Pledges $685 Million to Support Migrants in Latin America, The Rio
Times (Sep. 25, 2024), https://www.riotimesonline.com/u-s-pledges-685-million-to-support-
migrants-in-latin-america/.

                                                 13
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                                                          42
USAID’s 30-person outbreak response team to single digits,
USAID's                                            digits,42 and have also paused programs

monitoring bird flu outbreaks in 49 countries even as the virus is already making headway on

         soil.43 A draft memorandum by Nicholas Enrich, the Acting Assistant Administrator for
American soil.'

Global Health at USAID, projected catastrophic spread of malaria, tuberculosis, paralytic polio,

                            Marburg,44 all of which are preventable.
and diseases like Ebola and Marburg,44                               45
                                                        preventable.45  This is a clear and present

danger to Americans: we all know too well that the consequences "will               borders.”46
                                                                “will extend beyond borders."46

Just as concerning is Enrich's
                      Enrich’s warning that "[w]eakened
                                            “[w]eakened disease surveillance [] creates openings

for malicious actors":
              actors”: absent "health
                              “health monitoring systems [to] serve as the ‘smoke
                                                                           `smoke alarm’
                                                                                  alarm' for

unusual disease patterns,”
                patterns," a bioterrorism event in the form of the "deliberate
                                                                   “deliberate release of a pathogen
                                                              47
could spread for weeks under the guise of a normal outbreak.”
                                                   outbreak."47




42
42 Gabrielle Emanuel, Musk
                      Musk says work to stop Ebola was accidently cut but restored. Experts
raise doubts, NPR (Feb. 27, 2025), https://www.npr.org/sections/goats-and-soda/2025/02/27/g-
s1-50929/elon-musk-ebola-usaid.
43
  Michael Sheldrick, The Truth About U.S. Foreign Aid: A Response To Secretary Marco Rubio,
43 Michael Sheldrick, The Truth About U.S. Foreign Aid: A Response To Secretary Marco Rubio,
Forbes (Feb. 5, 2025), https://www.forbes.com/sites/globalcitizen/2025/02/05/the-truth-about-us-
foreign-aid-a-response-to-secretary-marco-rubio/.
44
  There is no authorized vaccine or treatment for Marburg, which causes fever, muscle pains,
44 There is no authorized vaccine or treatment for Marburg, which causes fever, muscle pains,
diarrhea, vomiting, and in some cases, death from extreme blood loss. It can be fatal in up to 88
percent of people who contract it. An outbreak of Marburg killed eight people in Tanzania in
January 2025. See WHO says suspected outbreak of  of Marburg
                                                     Marburg disease kills 8 in a remote part
                                                                                          part of
                                                                                               of
Tanzania, The Associated Press (Jan. 14, 2025), https://apnews.com/article/suspected-marburg-
outbreak-tanzania-2b76595fe38a5d5173466692a9f6d1b6.
45
45 W. Kristol, A. Egger, S. Stein, What a Weekend for
                                                   for Putin!, The Bulwark (Mar. 3, 2025),
https://www.thebulwark.com/p/what-a-weekend-for-putin. Defendants placed Enrich on
administrative leave.
46
     Id.
46 Id.

47
47 IdId.

                                                14
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       C.      Defendants’ Conduct Irreparably Damages The United States’s
               Defendants'                                            States's Credibility
               And Ability To Effectively Administer Aid Going Forward

       Defendants’ actions have thrown this country’s
       Defendants'                          country's foreign aid mechanisms into chaos. Billions

of dollars in funding appropriated by Congress for disbursement have been frozen, thousands of

experienced USAID staff members have been terminated or placed on administrative leave, and

up to 90 percent of USAID's
                    USAID’s existing contracts around the world have been cancelled without

notice or justification. The Supreme Court's
                                     Court’s March 5, 2025 decision regarding $2 billion in foreign

aid reimbursements provides little more than cold comfort—even if made, those payments do

nothing to ensure that the provision of crucial foreign aid continues. See Dept. of
                                                                                 of State v. AIDS
                                                                                             AIDS

Vaccine Advocacy Coalition, 604 U.S. ___ (2025). Practically speaking, administration of already

committed U.S. foreign aid has ground to a halt.

       Defendants have terminated USAID's
                                  USAID’s contracts without regard to its Federal Acquisition

Regulations, destroying the United States’s
                                   States's credibility as a reliable partner. Those regulations

govern the United States’s
                  States's acquisition of all goods and services, not just those relating to foreign

aid. Every business working with the United States relies on the government's
                                                                 government’s commitment to

follow through on its obligations and act in accordance with its own regulations. But dismantling

USAID and abruptly canceling its contracts sends a message that this administration does not feel

bound by those regulations—regulations on which every business that works with the United

States relies (including domestic businesses like U.S. farmers). Those partners have little reason

to trust that the United States will honor its contracts, or even its own laws and regulations. This

has a detrimental impact on national security: reliability in the realm of foreign assistance

especially contributes to the reservoir of goodwill that the United States must often call upon for

reasons unrelated to the assistance or to any specific program.




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       Even while Defendants move to drastically limit foreign assistance spending and

contracting, President Trump and Secretary Rubio have insisted that at least some foreign

assistance will continue, including in Africa and the Middle East. But Defendants'
                                                                       Defendants’ mass

terminations of USAID employees and contracts will limit the agency’s
                                                             agency's resources to vet its

contractors, crippling the United States’s
                                  States's ability to ensure that such aid does not fall into the wrong

hands or otherwise get misused. Vetting the contractors and subcontractors who do the work to

administer that assistance is essential to avoid waste, fraud, and abuse, and to prevent foreign aid
                                                                             48
funding from ending up in the hands of terrorists or other malicious actors.
                                                                     actors.48  This vetting process

is highly technical and requires seasoned and experienced employees who can work across

government agencies—employees with the appropriate clearances. It is also a process that requires

manpower: vetting for 500 contracts around the globe cannot be done by a single person, or even

a small group, if it is to be done correctly. USAID employed highly skilled people who know how

to   execute this is mission-critical work. Defendants have terminated over 12,000 USAID

                                                                      it.49 In doing so, Defendants
employees, thus sharply limiting the number of people available to do it.49

have risked the effective, safe, and secure distribution of funds, and undermined the goal of

enhancing national security.




48
48 See Oversight of
                 of USAID-Funded Humanitarian Assistance Programming Impacted
                                                                        Impacted by Staffing
Reductions and Pause on Foreign Assistance, Office Of Inspector Gen., USAID, at 3-4 (Feb. 10,
2025), available at https://tinyurl.com/3bj8m5az.
49
  What
  What Is U.S.A.I.D., and Why Do Trump and Musk
                                            Musk Want to Close It?, The New York Times
(Feb. 3, 2025), https://www.nytimes.com/2025/02/03/us/politics/usaid-foreign-aid-musk.html.

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       D.      The Suspension Of U.S. Foreign Aid Allows China And Russia To Expand
               Their Influence Around The World
                                                                                    50
       Foreign adversaries like China and Russia have long resented USAID's
                                                                    USAID’s efforts.
                                                                            efforts.56 Now, they
                                51
celebrate its threatened demise.
                         demise.51 That is because the "soft
                                                       “soft power”
                                                             power" accrued through the provision

of foreign aid is critical to the United States’s
                                         States's ability to "compete
                                                             “compete against Russia's
                                                                              Russia’s and China’s
                                                                                           China's

                                                world.”52 Pulling American support from countries
anti-American posture and activities around the world."52

in need not only weakens our influence and power—it cedes a valuable opportunity for those

adversaries to seize that influence and power in our stead.

       Defendants’ USAID shutdown puts "on
       Defendants'                     “on a silver platter to China the perfect opportunity to

expand its influence, at a time when China’s                           well.”53 China has
                                     China's economy is not doing very well."53

aggressively expanded its influence through China Aid and its Belt and Road Initiative, spending

        trillion54 on countries strategically located across the Pacific, Latin America, and sub-
over $1 trillion54
                55
Saharan Africa.
        Africa.55  While USAID and China Aid "have
                                             “have similar objectives –— spreading their
                                                                                        56
respective government's
           government’s soft power and influence”—the
                                       influence"—the means and ends are far different.
                                                                             different.56  China




50
5° Supra, note 15.
51
  Ted Yoho, I Came to Congress to Gut Foreign Aid. I Was Wrong, Time (Feb. 13, 2025),
51 Ted Yoho, I Came to Congress to Gut Foreign Aid. I Was Wrong, Time (Feb. 13, 2025),
https://time.com/7221668/ted-yoho-gutting-usaid-mistake-essay/.
https: //time. com/7221668/ted-yoho-gutting-usaid-mistake-essay/.
52
52 Vanda Felbab-Brown, Abolishing USAID hurts multiple US priorities,
                                                               priorities, The Brookings
Institution (Feb. 4, 2024), https://www.brookings.edu/articles/what-comes-after-a-usaid-
shutdown/.
53
53 US
   US cedes ground to China with ‘self-inflicted  wound’ of
                                  `self-inflicted wound' of USAid shutdown, analysts say, The
Guardian (Feb. 7, 2025), https://www.theguardian.com/world/2025/feb/07/donald-trump-usaid-
shutdown-impact-china-relationship-funding.
54
54 Christoph Nedopil Wang, China Belt and Road Initiative (BRI) Investment Report 2023 HI,
                                                                                       H1,
Green Finance & Development Center (Aug. 1, 2023), https://greenfdc.org/china-belt-and-road-
initiative-bri-investment-report-2023-h1/.
initiative-bri-investment-report-2023-h 1/.
55
   Supra, note 53.
55 Supra, note 53.

56 id.
   Id.

                                                17
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                                                                                       57
“us[es] predatory lending to trap countries in debt and extend its geopolitical reach”
"us[es]                                                                         reach"57  and, "like
                                                                                               “like

                                                                                              are.”58
Russia, is trying to advance an authoritarian world. The total opposite of what our interests are."58

USAID’s "support
USAID's “support for systems of oversight, accountability, and sustainable economic and

environmental decisions helps prevent China from entrapping countries in debt and diplomatic

subservience and from monopolizing critical minerals or strategic access points”
                                                                         points" that the United

       values.59
States values.59

          China has already rushed in to fill the gaps left by USAID's
                                                               USAID’s dismantling in southeast Asia

and Latin America. USAID funds supported landmine removal operations across more than a

dozen provinces in Cambodia, but China has stepped in since many of those programs stopped,

releasing $4.4 million to support continuing de-mining operations in seven of Cambodia's
                                                                              Cambodia’s

provinces.60 In Myanmar, where the military seized power from the country’s
provinces.60                                                      country's elected government

in 2021, USAID funds were crucial to programs that supported health, rights, democracy,
                                            61
governance, and independent media programs.
                                  programs.61  Those funds are now frozen, leaving an opening
                                       62
for China to assume America’s
                    America's efforts.
                              efforts.62  And in Colombia, a maritime commercial route between




57
     Supra, note 13.
57 Supra, note 13.

58
     Supra, note 53.
58 Supra, note 53.

59
     Supra, note 52.
59 Supra, note 52.

60
6° Anton L. Delgado and Janis Mackey Frayer, Cambodian mine-clearing program
                                                                     program reels after
Trump’s
Trump's USAID funding
                funding suspension, NBC News (Feb. 14, 2025),
https://www.nbcnews.com/news/world/usaid-cambodia-demining-trump-cuts-funding-
rcna192172/.
61
   Bertil Lintner, Trump’s retreat leaves Myanmar wholly to China, Asia Times (Feb. 12, 2025),
61 Bertil Lintner, Trump's retreat leaves Myanmar wholly to China, Asia Times (Feb. 12, 2025),
https://asiatimes.com/2025/02/trumps-retreat-leaves-myanmar-wholly-to-china/.
62 Id.
   Id.

                                                 18
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                                         63
its largest port and Shanghai has opened,
                                  opened,63 and the country is making significant progress toward
                                          64
joining China’s
        China's Belt and Road Initiative.
                              Initiative.64  As Colombia’s
                                                Colombia's example shows, when countries feel

they can no longer depend on the United States, they will look to form ties elsewhere.

       Defendants’ actions have also left an enormous vacuum across Africa, where the United
       Defendants'

States developed deep trust and goodwill over decades of being the first and fastest partner to

respond to emergencies and disasters. China has long sought a way in: it has already increased its

                                                             years,65 and will now seize the
investment from $75 million to $5.5 billion over the last 20 years,65

opportunity to spread the narrative that it stepped up to support the continent when the U.S. walked
      66
away.
away.66  Defendants’ revocation of aid and funding across Africa will be nothing short of
         Defendants'

catastrophic—millions will die as a result, only buttressing China’s
                                                             China's message of American
             67
abandonment.
abandonment.'   Handing China this opportunity is a baffling own-goal, undermining America’s
                                                                                   America's

ability to benefit diplomatically and economically from relationships built in one of the most




63
  Gobierno destaca apertura de ruta comercial maritima entre Shanghai y Buenaventura,
63 Gobierno destaca apertura de ruta comercial maritima entre Shanghai y Buenaventura,
GOV.CO (Feb. 6, 2025), https://www.presidencia.gov.co/prensa/Paginas/Gobierno-destaca-
apertura-de-ruta-comercial-maritima-entre-Shanghai-y-Buenaventura-250206.aspx.
64
  Victor Cohen, Colombia Set to Join China’s Belt and Road Initiative Imminently,
64 Victor Cohen, Colombia Set to Join China's Belt and Road Initiative Imminently,
ColombiaOne (Feb. 8, 2025), https://colombiaone.com/2025/02/08/colombia-china-belt-and-
road-initiative-new-silk-road/.
65
   Chido Munyati, Why strong regional value chains will be vital to the next chapter of China
65 Chido Munyati, Why strong regional value chains will be vital to the next chapter of China
     Africa’s economic relationship, World Economic Forum (June 25, 2024),
and Africa's
https://www.weforum.org/stories/2024/06/why-strong-regional-value-chains-will-be-vital-to-the-
next-chapter-of-china-and-africas-economic-
relationship/#:~:text=Moreover%2C%20Chinese%20foreign%20direct%20investment,of%20the
relationship/#:—:text=Moreover%2C%20Chinese%20foreign%20direct%20investment,oP/020the
%20region's%20total%20FDI.
66
  Sheriff Bojang Jnr, As Trump pulls aid plug, can China step into the void in Africa?, The
66 Sheriff Boj ang Jnr, As Trump pulls aid plug, can China step into the void in Africa?, The
Africa Report (Feb. 19, 2025), https://www.theafricareport.com/377096/as-trump-pulls-aid-plug-
can-china-step-into-the-void-in-africa/.
67
   Katherin Houreld and Rachel Chason, Fear, pain, hunger for millions as aid dries up, The
67 Katherin Houreld and Rachel Chason, Fear, pain, hunger for millions as aid dries up, The
Washington Post (Feb. 5, 2025), https://www.washingtonpost.com/world/2025/02/04/africa-
trump-musk-usaid-funding-cuts/.

                                                19
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                                                       world.68 The Brookings Institute is correct to
resource rich and strategically located regions in the world.68

note that "African
          “African prosperity is linked to American prosperity”:          “1 in 4 people and 1 in 3
                                                    prosperity": by 2050, "1

young people will hail from the continent, where they will be at the forefront of solving global

challenges by driving innovations…[t]he
                      innovations. . . [t]he shutdown of these initiatives represents both a risk and
                      69
a missed opportunity.”
         opportunity."69 As Senator Lindsey Graham said, "[i]f
                                                         “[i]f you don’t
                                                                   don't get involved in the world

and you don’t
        don't have programs in Africa where China’s
                                            China's trying to buy the whole continent, we're
                                                                                       we’re
                     70
making a mistake[.]”
         mistake[.]"76  When China steps in to provide aid, it will not completely replicate the

United States’
       States' efforts: its aid is unlikely to include support for democratization or civil society.

Diminishing support for those efforts will only reduce resistance to anti-American ideologies and
                                                 71
can increase the attraction of extremist groups.
                                         groups.71

            Russian and Belarusian officials have similarly "welcomed"
                                                            “welcomed” and "celebrated"
                                                                           “celebrated” the United

States’s            USAID.72 Russia's
States's halting of USAID.72 Russia’s rejoice is unsurprising, given that USAID "supports
                                                                                “supports

governance and media projects in countries where Russia exerts a large influence, such as Georgia
              73
and Armenia.”
    Armenia."73  “Last year, [the United States] sharply increased support for programs in Armenia
                 "Last



68
     Id.
69
   Landry Signe, Potential implications of the USAID shutdown for Africa and US-Africa
69 Landry Signe, Potential implications of the USAID shutdown for Africa and US-Africa
relations, The Brookings Institution (Feb. 4, 2025), https://www.brookings.edu/articles/what-
comes-after-a-usaid-shutdown/.
70
7° Chantal Da Silva, What cutting USAID Could cost the U.S. —
                                                            – and
                                                              and how China, Russia may
benefit, NBC News (Feb. 4, 2025), https://www.nbcnews.com/news/world/donald-trump-elon-
musk-usaid-soft-power-china-russia-rcna189756.
71
     Supra, note 66.
72
  Tamsin Paternoster, Russia and Belarus cheer dismantling of USAID as rights groups voice
72Tamsin
concerns, Euronews. (Feb. 2, 2025), https://www.euronews.com/2025/02/07/russia-and-belarus-
cheer-dismantling-of-usaid-as-rights-groups-voice-concerns.
73
  Kimberlee Kruesi, From fighting disease to protecting the Amazon rainforest, USAID has big
73 Kimberlee Kruesi, From fighting disease to protecting the Amazon rainforest, USAID has big
impact across the globe, The Associated Press (Feb. 6, 2025), https://apnews.com/article/usaid-
hiv-humanitarian-assistance-disease-spending-20f9cb969ffb6773e57886e34bf69165.

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as the government of Prime Minister Nikol Pashinyan has sought to reduce links with Russia and

                                                        Union.”74 These projects had been
strengthen ties with the United States and the European Union."74

         “At the time when Russia is selling its military services and engaging in egregious
working: "At

aggression, USAID programming that prevents and diffuses conflict and counters Moscow's
                                                                               Moscow’s

misinformation and disinformation campaigns is an important tool to mitigate Russia's
                                                                             Russia’s pernicious

influence.”75 Iranian state media has similarly lauded the freeze and potential termination of
influence."75

USAID because doing so has halted funding for pro-democracy activities and other democratic

efforts made possible through that assistance, even as its current regime is on the precipice of

                        uranium.76
enriching weapons grade uranium.76

            As former Congressman Ted Yoho noted, "[s]peculation
                                                  “[s]peculation that the U.S. might eliminate its
                                                                                  77
foreign aid program has been met with cheers from Beijing, to Moscow and Tehran.”
                                                                         Tehran."77  These

adversaries celebrate Defendants'
                      Defendants’ actions because USAID "has
                                                        “has become America’s
                                                                    America's superpower in
                                                                                      78
a world defined by threats that cross borders and amid growing strategic competition.”
                                                                         competition."78 Many of

the developing countries that were or could be the benefactor of USAID assistance "sit
                                                                                  “sit on vast

natural resources and critical mineral deposits key to high-tech products,”          “are being told
                                                                 products," and they "are
                                                                        79
by our adversaries that America is no longer a trusted global partner.”
                                                              partner."79  Those countries look to

the United States and rely upon it with the understanding that it would not wrongfully, and



74
     Id.
74 Id.

75
     Supra, note 52.
75 Supra, note 52.

76
        praises U.S. for
76 Iran praises       for cuttingforeign
                                  foreign aidfunding
                                              funding as it looksfor
                                                                  for a Trump message on nuclear
talks, NBC News (Feb. 5, 2025), https://www.nbcnews.com/news/world/iran-praises-us-cutting-
foreign-aid-funding-looks-trump-message-nuclea-rcna190752.
77
     Supra, note 51.
77 Supra, note 51.

78
     Supra, note 15.
78 Supra, note 15.

79
     Id.
79 Id.


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unconstitutionally, revoke those commitments. They will look elsewhere if Defendants are

permitted to do so.

                                      CONCLUSION

         For the foregoing reasons, the Court should grant Plaintiffs'
                                                           Plaintiffs’ Motion for Summary

Judgment.


Dated: March 17, 2025                            Respectfully submitted,


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